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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA                       )
                                                )
        Plaintiff,                              )
                                                )
 vs.                                            ) No. 07-CR-30136-DRH
                                                )
 THOMAS ANTHONY SOTO III                        )
                                                )
        Defendant.                              )



                                            ORDER


        Before the Court is a motion by Defendant Soto to quash the warrant for arrest issued on

 February 6, 2008 (Doc. 30). Defendant Soto waived arraignment on the superseding indictment on

 February 4, 2008, entered a guilty plea to the superseding indictment and was released on bond

 pending sentencing. Therefore, IT IS HEREBY ORDERED that the warrant for arrest issued on

 February 6, 2008 as to Defendant Soto is quashed.

        IT IS SO ORDERED.

                                                     /s/   DavidRHerndon
                                                     Chief Judge
                                                     United States District Court
